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                      SPECIAL REPORT
                             Exhibit 4:


                            Affidavit of
                    Grievance Coordinator
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

JERARD DAVIS,

                       Plaintiff,

vs.                                             Case No. CIV-17-217-RAW-SPS

RAYMOND GLORIA, ET AL.,

                       Defendants.

                                            AFFIDAVIT

State of Oklahoma              )
                               ) ss:
Hughes County                  )

       COMES NOW Terry Underwood, having been previously sworn, and stating as follows:

       1.      I am the Grievance Coordinator at Davis Correctional Facility, Holdenville,

Oklahoma. I am employed by CoreCivic (formerly “Corrections Corporation of America,”) a

corporation with its principal offices located in Nashville, Tennessee. CoreCivic owns and

operates the Davis Correctional Facility.

       2.      Jerard Davis DOC #688165 was housed at Davis Correctional Facility,

Holdenville, Oklahoma pursuant to a contract between Corrections Corporation of America, Inc.,

and the Oklahoma Department of Corrections.

       3.      I have been employed at Davis Correctional Facility for approximately 19 years. I

became the Grievance Coordinator at the Davis facility during September 2012. As part of my

duties in this position, I maintain all the grievance records and logs for the prison facility. I am

familiar with the grievance process and the Oklahoma DOC administrative remedies policy.

       4.      An administrative remedies grievance policy is available for inmate use at Davis

Correctional Facility. The policy is Oklahoma DOC’s grievance policy, OP-090124. The

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Oklahoma DOC administrative remedies policy clearly sets out the steps an inmate must follow

to exhaust administrative remedies.

       5.      I have made diligent search of the facility’s grievance records and the grievance

logs for records and log entries related to inmate Jerard Davis DOC #688165. I understand the

allegations made by Mr. Davis in his complaint filed with the District Court assert that the

named Defendants used excessive force against him during a housing unit cell response.

        6.     My search of the administrative remedies records I maintain for the Davis

Correctional Facility showed Mr. Davis did not file any grievances related to the incident which

occurred on December 29, 2016.

       7.      I understand that Mr. Davis alleges he attempted to file a grievance between

December 29, 2016 and January 3, 2017, but that he was unable to do so because he was on

property restriction and was denied the appropriate forms.

       8.      OP-090124(IV)(C)(3) indicates that a Request to Staff must be filed within seven

(7) days of an incident. Even Mr. Davis’ assertion was true regarding his access to forms, he

would still have had two days after he came off of property restriction during which he could

have submitted a Request to Staff.

       9.      The necessary administrative remedies forms were available on that housing unit

during the complained-of time. When I reviewed the grievance records and logs to determine

whether Mr. Davis had filed any grievance related to the incident of December 29, 2016, I noted

filed and logged grievances from other inmates housed on the Fox Charlie housing unit during

December 2016 and January 2017.

       10.     The Oklahoma DOC administrative remedies policy provides relief to an inmate

who was unable to file a grievance through no fault of his own. At ¶XII of OP-090124, the



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